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                   Thomas-Jensen
                    Affirmation



                      Exhibit # 113
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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND


    STATE OF NEW YORK, et al.,

                                  Plaintiffs,
                                                     Civil Action No. 1:25-cv-00039-JJM
               v.
                                                     DECLARATION OF HEATHER
                                                     BARTLETT
    DONALD TRUMP, et al.,

                                  Defendants.



                                  Declaration of Heather Bartlett
     I, Heather Bartlett, hereby declare:

         1.     I am over the age of 18, competent to testify as to the matters herein, and make this

  declaration based on my personal knowledge.

         2.     I am the Deputy Director of the Washington State Department of Ecology

  (Ecology), a position I have held for 5 years. Prior to my current position I led Ecology’s Water

  Quality Program as Program Manager for 6 years. I have over 30 years of working in the public

  sector in natural resource management and environmental protection. I have a Bachelor of Science

  degree with a focus in genetics from Washington State University.

         3.     As Deputy Director of Ecology, I assist in overseeing management of all the
  agency’s activities and various programs, as well as day-to-day operations. I attend regular

  meetings with Ecology’s senior leadership and receive frequent briefings on the status of Ecology

  programs and initiatives, emerging issues, and potential problems. I also frequently engage with

  our various stakeholders, the regulated community, and communities impacted by Ecology’s work.

         4.     I have been directly involved in issues related to Ecology’s inability to receive

  disbursements of certain federal funds since the issuance of several executive orders signed by
  President Donald Trump after he assumed office on January 20, 2025.


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                           The Washington State Department of Ecology

         5.      Ecology is the Washington administrative agency tasked with implementing and

  enforcing the majority of Washington’s environmental laws and regulations, including, among

  others, delegated authority or authorization under the federal Clean Air Act, the Clean Water Act,

  and the Resource Conservation and Recovery Act.

         6.      Ecology has worked to protect, preserve and enhance Washington’s land, air, water,

  and climate for current and future generations since 1970. A cornerstone of this mission is to ensure

  that Ecology delivers cleaner land, air, and water to every community in Washington. Identifying

  and addressing disparities and inequities in pollution and environmental burdens is critical to its

  success. While Ecology’s environmental protection work involves developing regulations,

  providing technical assistance, ensuring compliance with regulations, and engaging in

  enforcement, as necessary, the work also involves identifying and investing in infrastructure,

  environmental projects, and programs that will improve the environment and protect public health.

  In that regard, Ecology is a conduit for vast amounts of funds that benefit the environment, with

  billions of dollars going to Tribes, local governments, community groups, and businesses.

         7.      The following environmental programs support carrying out Ecology’s mission:

  Air Quality; Climate Pollution Reduction; Environmental Assessment; Hazardous Waste and

  Toxics Reduction; Nuclear Waste; Shorelands and Environmental Assistance; Solid Waste
  Management; Spill Prevention, Preparedness, and Response; Toxics Cleanup; Water Quality; and

  Water Resources.

         8.      Ecology’s Climate Pollution Reduction Program has become a national leader in

  reducing greenhouse gas emissions. This Program also implements Washington’s Climate

  Commitment Act (CCA) through a market-based program to reduce carbon pollution and achieve

  the greenhouse gas limits set in state law. The Program reduces greenhouse gas emissions from

  the state’s largest emitting sources and allows businesses to find the most efficient path to lower

  carbon emissions. The Air Quality Program similarly works to protect, preserve, and enhance air
  quality in Washington for current and future generations. Ecology is delegated authority by the

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  Environmental Protection Agency (EPA) to implement the Clean Air Act (CAA) in Washington

  state.

           9.    Through its Water Quality program, Ecology has implemented some of the

  strongest standards in the nation to clean up water, protect people and the beneficial uses for the

  state’s waters, including restoring salmon runs. The Program manages hundreds of millions of

  dollars in capital funds, 99.5 percent of which is passed through to local governments, tribes, and

  non-profits for infrastructure and land-based projects that benefit water quality. The Water Quality

  Program implements the Clean Water Act (CWA) based on its delegated authority from EPA, and

  the Washington Water Pollution Control Act authorized under state law.

           10.   Ecology’s Shorelands and Environmental Assistance Program administers state and

  federal grants to improve and protect the state’s land, air, and water. From ocean beaches to the

  banks of streams, this Program provides guidance for best management, technical assistance, and

  regulates land use along state shorelines. This Program also provides technical assistance and

  regulates wetlands protected by the Washington Water Pollution Control Act.

           11.   Ecology’s Hazardous Waste and Toxics Reduction Program works to safely

  manage and reduce hazardous waste in Washington. The Program is authorized by the EPA to

  implement the Resource Conservation and Recovery Act (RCRA) via the state equivalent statute,

  the Hazardous Waste Management Act (HWMA). The Program also implements toxics reduction
  work by offering technical assistance to businesses to reduce or eliminate their use of hazardous

  chemicals through identification of safer chemical alternatives, supporting the development of

  green chemistry, and testing consumer products for toxic chemicals.

           12.   The Toxics Cleanup Program implements the Model Toxics Control Act (MTCA)

  to cleanup hazardous substances released in soils and groundwater throughout the state of

  Washington. The purpose of MTCA is to eliminate the ongoing threat to human health and the

  environment by ensuring the cleanup of hazardous waste sites. It is administered alongside the

  federal version of the statute, the Comprehensive Environmental Response, Compensation, and
  Liability Act (CERCLA).

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                               Ecology Grants and Grant Programs

         13.     The Department of Ecology administers grant funds to a myriad of programs and

  serves to pass-through over $150 million in federal funding through the Inflation Reduction Act

  (IRA) and the Infrastructure and Investment and Job Act (IIJA). The federal funding is sourced

  from multiple federal agencies. However, EPA’s contribution constitutes the majority of this sum:

  $100,523,676 of funds crucial to programs impacting all of Washington.

         14.     Ecology receives funding from the EPA as a result of federal bills, including the

  IRA and the IIJA. Ecology uses state funds to match portions of federal funding for specific grants

  as required. The federal funding is dispensed both to Ecology in its regulatory and programmatic

  capacity for an array of programs and is also administered through “pass-through” funding

  dispensed directly to local governments, tribes, and communities for administration of relevant

  programs.

         15.     At least 20 programs are administered through funding from the IIJA and IRA.

  Those programs include projects associated with water quality, toxics cleanup, hazardous waste

  and toxics reduction, air quality, shoreline protection and restoration, and solid waste management.

         16.     I outline below five Ecology program grants: the Revolving Fund and Clean Water

  Emerging Contaminants Grants; Climate Resilient Riparian Systems Grant; Toxics Reductions
  Grant; State & Tribal Response Program Grant; and Clean Heavy-Duty Vehicles Grant. While far

  from the only grants impacted by the funding freeze, these five grants illustrate the impacts to

  Ecology programs. Nearly one hundred percent of the funding for these grants are passed through

  to communities throughout the state.

  Revolving Fund – Clean Water Emerging Contaminants Grants

         17.     The Clean Water State Revolving Fund provides low-interest and forgivable

  principal loan funding for wastewater treatment construction projects, eligible nonpoint source

  pollution control projects, and eligible “green” projects throughout the state. This Revolving Fund
  is funded in part from the IIJA and administered under the Clean Water Act. It is also funded

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  through annual EPA capitalization grants, state matching funds, and principal and interest

  repayments on past loans from the Fund. Ecology develops a water quality funding offer list and

  intended use plan each fiscal year. The list reflects the state’s most important infrastructure and

  activities for managing water pollution and protecting and improving water quality and public

  health. Projects include funding packages that assist small financially disadvantaged communities

  with the repair and update of their clean water infrastructure to protect both water quality and

  public health within their respective community.

          18.      Each year, Ecology uses a single application process to award funding from

  multiple sources, such as the Revolving Fund, through a competitive ranking process. Projects are

  scored and ranked based on how much they will benefit water quality and how ready the project

  is to move forward.

          19.      One of the grants funded through the Revolving Fund is the Emerging

  Contaminants Grant program, a grant of $9,022,000, which address emerging contaminants,

  including perfluoroalkyl and polyfluoroalkyl substances (PFAS) in wastewater, stormwater, and

  nonpoint source pollution concerns in water quality. Addressing PFAS is critical. PFAS are

  associated with a range of harmful health effects, including various cancers, liver disease and

  damage, human development issues such as low birth weight, hormonal changes, weakened

  immune function, diabetes, and fertility issues.1 PFAS are detectable in the blood of nearly all
  people in the United States.2

          20.      The Emerging Contaminants Grant also funds two projects addressing the reduction

  of toxic chemicals in stormwater that would otherwise reach urban salmon-bearing streams

  causing high salmon mortality and adverse human health impacts. Part of this grant funds


          1
             See Katie Pelch et al., PFAS-Tox Database (last visited December 29, 2024), https://pfastoxdatabase.org/
  (“Health Outcomes” tab); see also NJDEP, Drinking Water Quality Institute, Review of Interim USEPA Health
  Advisories for PFOA and PFOS and Other Relevant Information (last updated June 12, 2023),
  https://www.nj.gov/dep/watersupply/pdf/dwqi-health-effects-pfas-report.pdf.
           2
             Agency for Toxic Substances and Disease Registry, PFAS in the U.S. Population,
  https://www.atsdr.cdc.gov/pfas/health-effects/us-population.html; NJDEP, Sandra Goodrow and Gloria B. Post, Per-
  and Polyfluoroalkyl Substances (PFAS) in Drinking Water (August 16, 2021), https://dep.nj.gov/wp-
  content/uploads/dsr/private-well-consortium-pfas-2021.pdf.

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  installation of bio retention cells in a critical urban watershed (Seattle’s Thorton Creek Basin).

  This project will improve water quality in Thornton Creek through installation of natural drainage

  systems (bioretention cells) within the Basin—a salmon-bearing urban creek with degraded water

  quality. This project will remove pollutants from stormwater before it reaches Thornton Creek.

  When the project is complete, the roadside bio-retention systems will provide treatment for total

  suspended solids (TSS), oil (total petroleum hydrocarbons), dissolved copper, dissolved zinc, and

  total phosphorus. According to best available science, these the bioretention cells also have a high

  probability of treating emerging contaminants such as 6PPD-Quinone, as well as legacy

  contaminants such as polychlorinated biphenyls (PCBs). This project will also provide a reduction

  in peak flows to Thornton Creek by increasing stormwater infiltration, resulting in reduced street

  flooding, improved traffic calming, new street trees, and increased landscaping.

  Climate Resilient Riparian Systems Grant

         21.     EPA awarded Ecology the Climate Resilient Riparian Systems grant, issued from

  IIJA monies, for a total federal contribution of $30,000,000. Healthy riparian systems, the habitat

  areas along rivers and streams, are critical to addressing existing water quality impairments such

  as temperature, that can limit salmon recovery efforts throughout this region. The grant funds

  resiliency projects for riparian systems to improve water quality and facilitate recovery of salmon

  populations in the Puget Sound Basin. The bulk of the funding is passed to local project sponsors
  and landowners for voluntarily protection and restoration of riparian habitat in priority areas. The

  funding also goes to address underlying workforce and supply chain challenges facing local

  restoration groups. Grant funds support both the establishment of new, and the scaling up of

  existing, riparian programs in priority watersheds. Funding is to be used for planning and outreach;

  riparian maintenance and invasive species work; incentives to landowners in exchange for

  plantings; native plant procurement and nursery support; establishment of new riparian areas; and

  the protection of existing riparian areas under threat of development.

  Toxics Reduction Grant for the Columbia River Basin
         22.     The Toxics Reduction Grant for the Columbia River Basin was funded via the IIJA

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  for a total of $6,909,000. The funding expands on more than 20 years of work by EPA’s

  collaborative Columbia River Basin Restoration working group and implements actions that

  increase public understanding and political commitment to toxics reduction in the Columbia River

  Basin. The funds support Ecology in building a comprehensive toxics reduction strategy that will

  reduce impact of toxics on fish and wildlife and meet water quality standards. The Columbia River

  Basin is one of North America’s largest watersheds, spanning nearly 260,000 square miles. It

  includes parts of British Columbia, Canada, and seven U.S. states, including significant portions

  of Idaho, Montana, Oregon, and Washington. The Basin provides vital environmental, economic,

  cultural, and social benefits to millions of people in the Pacific Northwest, including tribal,

  recreational, and commercial fisheries; agriculture; forestry; recreation; irrigation and domestic

  water use, as well as electric power generation. Human activities in the Basin have contributed to

  impaired water quality that can affect people’s health and threaten fish and wildlife species

  survival. Tribal fish consumers, subsistence fishers, and other high fish consumers are more

  exposed to toxic contaminants in fish and wildlife and can suffer increased health risks, making

  toxic contamination in the Basin a significant public health issue.

         23.     Ecology leads a group of state agencies and communities to develop priorities and

  implement toxics reduction activities in the Columbia River Basin. This work aims to improve

  conditions and reduce toxics exposure for high fish-consuming populations and will complement
  and enhance ongoing restoration efforts across the Basin. This will also result in increased

  interaction and public engagement with overburdened and underserved communities, including

  Native American populations. The result will be increased collaboration with community partners

  that will have positive, lasting impacts on the environment and public health. Additionally,

  Ecology provides technical assistance and funding through a subaward program that supports our

  partners, including Tribes, in immediate toxics reduction activities in the Basin.

         24.     The project also provides for the following activities: (1) a subaward grant program,

  which administers $3 million dollars in a competitive grant program for toxics reduction efforts in
  the Columbia River Basin. This includes toxics reduction strategic planning development of toxics

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  inventories, technical assistance to municipalities, Tribes, and nonprofits via water quality

  technical assistance, quality assurance project plan development and review, project scoping,

  training, sampling data analysis, mentoring, and other assistance that supports the development

  and implementation of toxics reduction strategies across the basin.

  State and Tribal Response Program Grant

         25.       The State and Tribal Response Program Grant was funded through the IIJA and

  provides $5 million in supplemental funds to local governments, non-profits, and Tribal entities

  for cleanup of contaminated properties where the grantees are not the source of the contamination.

  This supplements funding for the cleanup of “brownfields,” i.e., abandoned or underutilized

  properties that may have environmental contamination and that suffer from negative perceptions,

  and potential environmental liability. As a result, these properties hamper community

  redevelopment while remaining an environmental and human health threat. Through the fund,

  Ecology provides resources and technical assistance to local governments, Tribes, non-profits, and

  other community groups to investigate potential contamination and establish a path to redevelop

  brownfield sites for more productive use. Resources include funding, technical assistance,

  guidance, and support through the reuse planning, environmental assessment, and cleanup of the

  contamination.

         26.       Work via the State and Tribal Response Program facilitates cleanup activities
  across under resourced areas in the state of Washington, including: digitizing former orchard lands

  contaminated with lead and arsenic in the Eastern portion of the State, developing a method of

  evaluating PFAS in sediment, researching additional types of affordable housing development to

  include in the affordable housing cleanup grant program, and researching a mechanism for a local

  government to implement a clean soil bank to support development on former orchard lands.

  Clean Heavy-Duty Vehicle Grant

         27.       Ecology received $3,890,000 via the Inflation Reduction Act to administer the

  Clean Heavy-Duty Vehicle funding. This funding helps school districts across the state replace
  diesel school buses with zero emission school buses. Four school districts across the State of

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Washington have been chosen to receive the funding to replace thirteen total school buses.

                                 Disruptions to Federal Funding

Federal Funding Freeze

       28.     Since taking office, the Trump Administration has issued several executive orders

and directives intended to freeze funds appropriated by the IRA and IIJA.

       29.     On January 20, 2025, the Administration issued two executive orders directing,

among other things, that federal agencies to pause disbursement of IRA and IIJA funds related to

clean energy or diversity, equity, and inclusion initiatives.

       30.     On January 27, 2025, the Administration issued a broad memorandum, OMB

Memorandum M-25-13 (M-25-13), directing agencies to pause all disbursement of IRA and IIJA

funds until consistency with various executive orders could be evaluated.

       31.     That same day, EPA’s Office of the Chief Financial Officer issued a similar

memorandum implementing the OMB memorandum. The memorandum directed EPA to pause

unobligated funds appropriated under the IRA and IIJA; pause disbursements for unliquidated

obligations funded by any accounting line including such funds; and halt all related agency actions,

including drawdowns of such funds.

       32.     A coalition of 24 states, as well as a non-governmental organization, challenged M-

25-13 in two separate lawsuits. This action was one of them.
       33.     On January 29, 2025, OMB issued a follow-up memorandum purporting to rescind

M-25-13. Simultaneously, however, White House Press Secretary Karoline Leavitt explained that

the memorandum was rescinded “to end any confusion” but stated that the EOs “remain in full

force and effect and will be rigorously implemented by all agencies and departments.”

       34.     This Court issued a temporary restraining order (TRO) on January 31, 2025,

enjoining Defendants from pausing, freezing, impeding, blocking, canceling, terminating, or

otherwise impeding access to awards and obligations to provide federal financial assistance to the

Plaintiff States, “except on the basis of the applicable authorizing statutes, regulations, and terms.”
       35.     Rescission and restraining order notwithstanding, the Administration’s actions led

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to immediate disruption and harm. At the time the EOs and memoranda were issued, Ecology had

been awarded $181 million in grants under the IRA and IIJA. At the time, only about $162 million

of the money had been disbursed. Thus, nearly $19 million of undisbursed money was immediately

at risk.

           36.   Of the nearly $162 million that had been disbursed, approximately $50 million was

already spent. On January 29, 2025, after M-25-13 was issued, the remaining $112 million in

grants under the IIJA and IRA were also frozen, and Ecology was unable to draw down on these

funding sources. Ecology, thus, prepared to inform programs, sub-awardees, and contractors that

they needed to pause work and spending on these grants until the funds were unfrozen.

           37.   After the Administration purported to rescind M-25-13, nine grants administered

by the National Oceanographic and Atmospheric Administration were unfrozen. Ecology regained

access to funds that were already disbursed.

           38.   Yet, on January 30, 2025, after the Administration’s supposed rescission, grants

administered by EPA remained frozen. The memorandum issued by EPA’s CFO also remained in

effect. A financial specialist from EPA informed Ecology that the continuing freeze was a result

of OMB’s actions and the recent executive order(s). There was no indication of when the restriction

would be lifted.

           39.   On the morning of February 3, 2025, after this Court issued a TRO and copies of
the TRO were distributed to EPA, Ecology grants administered by EPA remained frozen. In the

system Ecology uses to track its grant awards, the reason for the suspension was listed as “Per

Executive Order.” In other words, despite the Administration supposedly backtracking on its

attempts to freeze federal funds and despite this Court’s direct order, EPA continued to freeze

funds that were appropriated to Ecology under the IRA and IIJA.

           40.   The amount of disrupted funds included over $35 million in unspent funds and over

$18 million in undisbursed funds: nearly $53 million in all.

           41.   Despite the TRO, the situation remains the same, albeit with an extra layer of
confusion. As of this morning (February 4, 2025), while some portions of the portal Ecology uses

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to access its federal funds indicated that only certain grants remained frozen, Ecology cannot

access any of the 13 active federal grants administered by EPA.

       42.     Thus, Ecology currently remains unable to access disbursed federal funds despite

this Court’s direct order.

       43.     The frozen and disrupted funds support many critical and time-sensitive activities.

To return to the examples discussed above—which again are far from the only examples—this

includes funds appropriated for the Revolving Fund and Emerging Contaminants Grant, Climate

Resilient Riparian Systems Grant, Columbia River Toxics Reduction Grant, State and Tribal

Response Program, and the Clean Heavy-Duty Vehicle Grant. As described below, loss of this

funding—even on a temporary basis—results in real harms to Washington’s residents and its

environment.

Revolving Fund and Emerging Contaminants Grant

       44.     To start, Ecology has spent approximately $5.1 million of $5.3 million Emerging

Contaminants Grant appropriated for the Revolving Fund in the 2022-2023 fiscal year. This money

was awarded to Seattle Public Utilities for work on the South Thornton Natural Drainage System.

The remaining $200,000 are now inaccessible.

       45.     Ecology has not yet spent any of the nearly $3.7 million appropriated for the 2024

fiscal year, all of which has been awarded to SPU for work on the North Thornton Natural Drainage
System. Without this money, which has been disbursed to Ecology but is now frozen, this work

will either must be put on hold or funded through other mechanisms. In the meantime, significant

contamination will enter the Thornton Creek watershed without the benefit of bio-retention cells,

increasing the risk of harm to salmon, street flooding, and harm to human health.

       46.     To be clear, the disruption caused to funding is not limited to future funding. In the

case of the Emerging Contaminants Grant, SPU has already placed a payment request for the final

$200,000 allocated to it in the 2022-2023 fiscal year. But that request is on hold while Ecology

determines whether it can draw those funds from the grant administered by EPA. This forces SPU
to seek other funding sources to cover costs. The uncertainty of the freeze’s duration or

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permanence means there is lingering uncertainty over whether the remaining funds will ever

become available.

       47.     Nor is the chaos caused by the disruption limited to projects directly funded by the

IRA and IIJA. As explained, the Revolving Fund also supports a wide range of other water quality

and public health projects. Thus, each year, Ecology develops a water quality funding offer list

that reflects the State’s most important infrastructure and activity needs. The list includes projects

and funding packages that assist small, financially disadvantaged communities with the repair and

update of their clean water infrastructure. The list is provided to the State legislature to inform

their state biennial budget. This year, the funding disruptions coincided with the start of the State’s

legislative session leaving Ecology, the legislature, and project proponents uncertain about what

projects would receive funding.

       48.     The federal funding disruptions to the Revolving Fund have created uncertainty

around how much of its water quality funding offer list Ecology can fund (and in what way). If

there is a significant reduction in funding, Ecology will have to redirect available funds and may

postpone publication of the offer list, creating uncertainty for communities seeking that funding.

Ecology, and the State legislature, will have to make difficult decisions against an evolving

backdrop of uncertainty, confusion, and fear over the status of federal funding. In other words,

critical water quality infrastructure needs—even those not directly funded by the IRA and IIJA—
may go unaddressed because of these attempts to freeze and rescind appropriated funds for other

projects.

Resilient Riparian Systems Grant

       49.     Similar impacts have been felt in Ecology’s Climate Resilient Riparian Systems

Grant. Of the $30 million awarded for this project, only $20 million has been disbursed and only

$700,000—just 2%— has been spent. Thus, as of February 4, 2025, some $19 million of disbursed

funds are frozen, and the fate of $10 million in appropriated funds remains uncertain.

       50.     To obtain this federal funding, the State was required to fully match the federal
funding. The State has already provided this $30 million.

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       51.     As explained, 94% of this grant is intended to pass through Ecology, directly to

communities. In fact, Ecology has already received over $30 million in the first round of grant

solicitations alone and (before the freeze) expected to announce a funding list next month, with $9

million in offers to communities. Ecology also supports five full-time employees and entered into

$8 million worth of contracts as part of implementing this grant.

       52.     Looking forward, Ecology also submitted an amendment request in November

seeking to add a seventh year to the agreement. This request was not processed before the freeze.

       53.     All of Ecology’s work on this program is jeopardized by attempts to freeze or

rescind funding. If the $19 million in frozen funds—which were already disbursed—remains

unavailable, Ecology will lose funding for five full-time employees and need to withdraw from

agreements with important community partners.

       54.     Even more immediately, if funding remains frozen, Ecology will have to hold its

award list for the current round of pass-through funding, preventing communities from receiving

$9 million for projects.

Columbia River Toxics Reduction Grant

       55.     Next, disruptions to IRA and IIJA funding are having serious impacts on the Toxics

Reduction Grant. Of the nearly $7 million awarded to that project, just over $5.3 million has been

disbursed. Only $56,000 has been spent. Thus, 99% of the funding for this project is at risk, and
nearly a quarter of it may never become available.

       56.     This grant supports 2.6 full-time employees and was intended to provide a

competitive grant program for toxics reduction, long-term strategic planning for a toxics reduction

strategy, a toxics inventory, and technical assistance directly for communities in the Columbia

River Basin. All of this is jeopardized by the disruptions to funding.

       57.     Some of these disruptions have already been felt. For example, Ecology was

recently asked to provide an in-person training about toxics monitoring for the Upper Columbia

United Tribes, who also received a toxics reduction grant. Ecology’s grant proposal included a
provision that the Department would provide other grant recipients with technical assistance and

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emphasized partnering with tribes. However, because monitoring training is not expressly stated

as a part of the grant, Ecology would normally seek guidance and approval from EPA before using

its funds on this effort.

        58.     The disruptions to funding have prevented Ecology from communicating with EPA

on this issue and, ultimately, prevented Ecology from providing this important training to its tribal

partners.

State & Tribal Response Program

        59.     The disruptions to funding have also disrupted Ecology’s work on the State &

Tribal Response Program. Of the $5 million awarded to that program, less than half has been

disbursed. Only 17%—about $830,000—has been spent. Thus, some $4 million in funds intended

to go toward the assessment and cleanup of contaminated sites has been jeopardized.

        60.     In particular, the funds are intended to support three full-time employees, site

investigations, and clean-up activities at contaminated “brownfield” sites. Ecology has already

entered into contracts for this work and planned to enter into property transactions and clean-up

actions based on the work funded by this program.

        61.     The disruptions to funding have caused confusion, fear, and uncertainty among the

staff and communities involved in this program. Contracted work is being held up, which in turn

impacts downstream transactions and clean-up activities.
Clean Heavy-Duty Vehicle Grant

        62.     Finally, immediate and disruptive impacts have been felt by the Clean Heavy-Duty

Vehicles Program. Just three weeks ago, Ecology was awarded nearly $3.9 million for this

program. This award is now frozen in its entirety.

        63.     Ecology had already communicated preliminary awards to four school districts.

Grants were not yet signed and in place, but draft agreements were ready for the districts’ review.

        64.     Without federal funding supplementing the state’s funding for this program, there

is a risk these projects will not move forward. School districts operate on very tight budgets, and
Ecology does not have additional funding to replace any lost federal funding.

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